                              Case 22-10630-JTD                    Doc 1        Filed 07/14/22             Page 1 of 12

 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH

 BBBBBBBBBB     'LVWULFWRIBBBBBBBBBB
 'LVWULFW RI 'HODZDUH

 &DVHQXPEHU If known  BBBBBBBBBBBBBBBBBBBBBBBBB &KDSWHU                                                                              &KHFNLIWKLVLVDQ
                                                                                                                                                DPHQGHGILOLQJ



2IILFLDO)RUP
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                              

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHGHEWRU¶VQDPHDQGFDVHQXPEHU LINQRZQ 



   'HEWRU¶VQDPH
                                            &UpGLWR5HDO6$%GH&962)20(15
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




   'HEWRU¶VXQLTXHLGHQWLILHU             )RUQRQLQGLYLGXDOGHEWRUV

                                                     )HGHUDO(PSOR\HU,GHQWLILFDWLRQ1XPEHU (,1 BBBBBB±BBBBBBBBBBBBBBBBBBBBB

                                                ✔
                                                           &56                                       0H[LFDQ 7D[ ,'
                                                      2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBB'HVFULEHLGHQWLILHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


                                            )RULQGLYLGXDOGHEWRUV

                                                     6RFLDO6HFXULW\QXPEHU [[[±[[±BBBBBBBBBBBBBBBB

                                                     ,QGLYLGXDO7D[SD\HU,GHQWLILFDWLRQQXPEHU ,7,1  [[±[[±BBBBBBBBBBBBBBBB

                                                     2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBB'HVFULEHLGHQWLILHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



   1DPHRIIRUHLJQ
     UHSUHVHQWDWLYH V                        5REHUW :DJVWDII
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


   )RUHLJQSURFHHGLQJLQZKLFK            $SSRLQWHG E\ OHWWHU RI WKH OLTXLGDWRU DV IRUHLJQ UHSUHVHQWDWLYH RI WKH 0H[LFDQ /LTXLGDWLRQ
     DSSRLQWPHQWRIWKHIRUHLJQ             3URFHHGLQJ &DVH 1R  SHQGLQJ LQ WKH QG &LYLO 6WDWH &RXUW RI 0H[LFR &LW\
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     UHSUHVHQWDWLYH V RFFXUUHG

   1DWXUHRIWKHIRUHLJQ
                                            Check one:
     SURFHHGLQJ
                                            ✔
                                               )RUHLJQPDLQSURFHHGLQJ
                                               )RUHLJQQRQPDLQSURFHHGLQJ
                                               )RUHLJQPDLQSURFHHGLQJRULQWKHDOWHUQDWLYHIRUHLJQQRQPDLQSURFHHGLQJ


   (YLGHQFHRIWKHIRUHLJQ                   $FHUWLILHGFRS\WUDQVODWHGLQWR(QJOLVKRIWKHGHFLVLRQFRPPHQFLQJWKHIRUHLJQSURFHHGLQJDQG
     SURFHHGLQJ                                 DSSRLQWLQJWKHIRUHLJQUHSUHVHQWDWLYHLVDWWDFKHG

                                               $FHUWLILFDWHWUDQVODWHGLQWR(QJOLVKIURPWKHIRUHLJQFRXUWDIILUPLQJWKHH[LVWHQFHRIWKHIRUHLJQ
                                                SURFHHGLQJDQGRIWKHDSSRLQWPHQWRIWKHIRUHLJQUHSUHVHQWDWLYHLVDWWDFKHG
                                            ✔
                                              2WKHUHYLGHQFHRIWKHH[LVWHQFHRIWKHIRUHLJQSURFHHGLQJDQGRIWKHDSSRLQWPHQWRIWKHIRUHLJQ
                                               UHSUHVHQWDWLYHLVGHVFULEHGEHORZDQGUHOHYDQWGRFXPHQWDWLRQWUDQVODWHGLQWR(QJOLVKLVDWWDFKHG
                                            &RSLHV DQG FHUWLILHG WUDQVODWLRQV RI WKH RUGHUV DFFHSWLQJ WKH IRUHLJQ SURFHHGLQJ DQG DSSRLQWLQJ WKH 0H[LFDQ
                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                            /LTXLGDWRU DQG FRS\ RI WKH OHWWHU DSSRLQWLQJ WKH IRUHLJQ UHSUHVHQWDWLYH DOO DWWDFKHG WR WKH 0H[LFDQ /DZ 'HFODUDWLRQ
                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


   ,VWKLVWKHRQO\IRUHLJQ                  1R $WWDFKDVWDWHPHQWLGHQWLI\LQJHDFKFRXQWU\LQZKLFKDIRUHLJQSURFHHGLQJE\UHJDUGLQJRUDJDLQVWWKH
     SURFHHGLQJZLWKUHVSHFWWR                 GHEWRULVSHQGLQJ
     WKHGHEWRUNQRZQWRWKH                ✔
     IRUHLJQUHSUHVHQWDWLYH V "
                                               <HV




2IILFLDO)RUP                               &KDSWHU3HWLWLRQIRU5HFRJQLWLRQRID)RUHLJQ3URFHHGLQJ                                 SDJH
                             Case 22-10630-JTD                   Doc 1         Filed 07/14/22             Page 2 of 12

'HEWRU        &UpGLWR5HDO6$%GH&962)20(15
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                           &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              1DPH



    2WKHUVHQWLWOHGWRQRWLFH        $WWDFKDOLVWFRQWDLQLQJWKHQDPHVDQGDGGUHVVHVRI
                                        L     DOOSHUVRQVRUERGLHVDXWKRUL]HGWRDGPLQLVWHUIRUHLJQSURFHHGLQJVRIWKHGHEWRU
                                        LL    DOOSDUWLHVWROLWLJDWLRQSHQGLQJLQWKH8QLWHG6WDWHVLQZKLFKWKHGHEWRULVDSDUW\DWWKHWLPHRIILOLQJRIWKLV
                                              SHWLWLRQDQG
                                        LLL   DOOHQWLWLHVDJDLQVWZKRPSURYLVLRQDOUHOLHILVEHLQJVRXJKWXQGHURIWKH%DQNUXSWF\&RGH


    $GGUHVVHV                        &RXQWU\ZKHUHWKHGHEWRUKDVWKHFHQWHURILWV                 'HEWRU¶VUHJLVWHUHGRIILFH
                                       PDLQLQWHUHVWV


                                      0p[LFR
                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                  $Y ,QVXUJHQWHV 6XU 1R  WK )ORRU
                                                                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                       1XPEHU    6WUHHW

                                                                                                       &RO 'HO 9DOOH 1RUWH $OFDOGLD %HQLWR -XDUH]
                                                                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                       $GGUHVV&RQ W

                                                                                                       0H[LFR&LW\
                                                                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           
                                                                                                       &LW\          =,33RVWDO&RGH


                                                                                                       0p[LFR
                                                                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                       &RXQWU\




                                       ,QGLYLGXDOGHEWRU¶VKDELWXDOUHVLGHQFH                        $GGUHVVRI IRUHLJQUHSUHVHQWDWLYH V 



                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                 %ULFNHOO $YHQXH 6XLWH 
                                                                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                       1XPEHU    6WUHHW                                              1XPEHU    6WUHHW

                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                       32%R[                                                       32 %R[

                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                0LDPL                              )/      
                                                                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                       &LW\        6WDWH3URYLQFH5HJLRQ =,33RVWDO&RGH            &LW\        6WDWH3URYLQFH5HJLRQ =,33RVWDO&RGH


                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                8QLWHG 6WDWHV RI $PHULFD
                                                                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                       &RXQWU\                                                         &RXQWU\




   'HEWRU¶VZHEVLWH 85/             KWWSVZZZFUHDOP[
                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




   7\SHRIGHEWRU                   Check one:
                                       ✔
                                             1RQLQGLYLGXDO check one 
                                               ✔
                                                    &RUSRUDWLRQ$WWDFKDFRUSRUDWHRZQHUVKLSVWDWHPHQWFRQWDLQLQJWKHLQIRUPDWLRQ
                                                     GHVFULEHGLQ)HG5%DQNU3

                                                    3DUWQHUVKLS

                                                    2WKHU6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                             ,QGLYLGXDO




2IILFLDO)RUP                         &KDSWHU3HWLWLRQIRU5HFRJQLWLRQRID)RUHLJQ3URFHHGLQJ                                          SDJH
                              Case 22-10630-JTD                      Doc 1   Filed 07/14/22             Page 3 of 12

'HEWRU        &UpGLWR5HDO6$%GH&962)20(15
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                        &DVH QXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              1DPH




   :K\LVYHQXHSURSHULQthis      Check one:
      district"                        ✔
                                            'HEWRU¶VSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKH8QLWHG6WDWHVDUHLQWKLVGLVWULFW
                                            'HEWRUGRHVQRWKDYHDSODFHRIEXVLQHVVRUDVVHWVLQWKH8QLWHG6WDWHVEXWWKHIROORZLQJ
                                             DFWLRQRUSURFHHGLQJLQDIHGHUDORUVWDWHFRXUWLVSHQGLQJDJDLQVWWKHGHEWRULQWKLVGLVWULFW
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                            ,IQHLWKHUER[LVFKHFNHGYHQXHLVFRQVLVWHQWZLWKWKHLQWHUHVWVRIMXVWLFHDQGWKHFRQYHQLHQFH
                                             RIWKHSDUWLHVKDYLQJUHJDUGWRWKHUHOLHIVRXJKWE\WKHIRUHLJQUHSUHVHQWDWLYHEHFDXVH
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



   6LJQDWXUHRIIRUHLJQ
      UHSUHVHQWDWLYH V                 ,UHTXHVWUHOLHILQDFFRUGDQFHZLWKFKDSWHURIWLWOH8QLWHG6WDWHV&RGH

                                       ,DPWKHIRUHLJQUHSUHVHQWDWLYHRIDGHEWRULQDIRUHLJQSURFHHGLQJWKHGHEWRULVHOLJLEOHIRUWKH
                                       UHOLHIVRXJKWLQWKLVSHWLWLRQDQG,DPDXWKRUL]HGWRILOHWKLVSHWLWLRQ

                                       ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLVSHWLWLRQDQGKDYHDUHDVRQDEOHEHOLHIWKDWWKH
                                       LQIRUPDWLRQLVWUXHDQGFRUUHFW

                                       ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW


                                       8 V 5REHUW :DJVWDII
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         5REHUW :DJVWDII
                                                                                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           6LJQDWXUHRIIRUHLJQUHSUHVHQWDWLYH                      3ULQWHGQDPH


                                       ([HFXWHGRQ        
                                                           BBBBBBBBBBBBBBBBBB
                                                            00 ''<<<<



                                       8    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           6LJQDWXUHRIIRUHLJQUHSUHVHQWDWLYH                      3ULQWHGQDPH


                                       ([HFXWHGRQ        BBBBBBBBBBBBBBBBBB
                                                            00 ''<<<<




   6LJQDWXUHRIDWWRUQH\
                                       8 V-RKQ+.QLJKW         
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 'DWH                  
                                                                                                                    BBBBBBBBBBBBBBBBB
                                            6LJQDWXUHRI$WWRUQH\IRUIRUHLJQUHSUHVHQWDWLYH                       00 ''<<<<


                                           -RKQ  + .QLJKW
                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           3ULQWHGQDPH
                                           5LFKDUGV  /D\WRQ )LQJHU 3$
                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           )LUPQDPH
                                           2QH  5RGQH\ 6TXDUH  1RUWK .LQJ 6WUHHW
                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           1XPEHU         6WUHHW
                                           :LOPLQJWRQ
                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              '(      
                                                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           &LW\                                                           6WDWH        =,3 &RGH


                                             
                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                          NQLJKW#UOIFRP
                                                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           &RQWDFWSKRQH                                                 (PDLODGGUHVV




                                                                                              '(
                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           %DUQXPEHU                                                     6WDWH




2IILFLDO)RUP                       &KDSWHU3HWLWLRQIRU5HFRJQLWLRQRID)RUHLJQ3URFHHGLQJ                                   SDJH
      Case 22-10630-JTD      Doc 1   Filed 07/14/22   Page 4 of 12




                                Exhibit A

Statement of Petitioner Pursuant to Section 1515(c) of the Bankruptcy Code
                  Case 22-10630-JTD             Doc 1        Filed 07/14/22      Page 5 of 12




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                      )
    In re                                             )             Chapter 15
                                                      )
                                                  1
    Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.,      )             Case No. 22-[_____] ( )
                                                      )
                      Debtor in a Foreign Proceeding. )
                                                      )

    STATEMENT OF FOREIGN REPRESENTATIVE PURSUANT TO SECTION 1515(c)
                       OF THE BANKRUPTCY CODE

          I, Robert Wagstaff (the “Petitioner” or the “Foreign Representative”), pursuant to

28 U.S.C. § 1746, hereby declare under penalty of perjury under the laws of the United States of

America that the following is true and correct to the best of my knowledge and belief:

          1.      I am Robert Wagstaff (the “Petitioner” or the “Foreign Representative”), duly

appointed as the foreign representative by Mr. Fernando Alonso-de-Florida Rivero, the

court-appointed provisional liquidator (Liquidator Judicial Provisional) (the “Mexican

Liquidator”)2 of the Special Expedited Commercial proceeding (Via Sumaria Especial Mercantil)

for the dissolution and liquidation (the “Mexican Liquidation Proceeding”) of Crédito Real,

S.A.B. de C.V., SOFOM, E.N.R. (the “Chapter 15 Debtor”) pending in the 52nd Civil State Court

of Mexico City (the “Mexican Court”) pursuant to articles 229, 232, 233, 236, and others of the

Ley General de Sociedades Mercantiles, as originally published in the Diario Oficial de la

Federación on August 4, 1934 and last revised on June 14, 2018 (as amended, the “Mexican

Corporations Law”).




1
         The last four identifying digits of the tax number and the jurisdiction in which the Chapter 15 Debtor pays
taxes is Mexico – 6815. The Chapter 15 Debtor’s corporate headquarters is located at Avenida Insurgentes Sur No.
730, 20th Floor, Colonia del Valle Norte, Alcaldía Benito Juárez, 03103, Mexico City, Mexico.
2
          On June 30, 2022, the Mexican Court appointed the Mexican Liquidator on a provisional basis.



                                                         2
               Case 22-10630-JTD         Doc 1        Filed 07/14/22   Page 6 of 12




         2.    I respectfully submit this statement, as required under section 1515(c) of title 11 of

the United States Code (the “Bankruptcy Code”), in support of the Verified Petition for

Recognition of Foreign Main Proceeding (the “Verified Petition”) filed concurrently herewith,

seeking recognition by this Court of the Mexican Liquidation Proceeding as the foreign main

proceeding of the Chapter 15 Debtor.

         3.    The Mexican Liquidation Proceeding is the only “foreign proceeding” within the

meaning of section 101(23) of the Bankruptcy Code with respect to the Chapter 15 Debtor known

to me.

         4.    I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge, information and belief.

Dated: July 14, 2022

                                                 /s/ Robert Wagstaff
                                                 Robert Wagstaff
                                                 Petitioner and Foreign Representative




                                                  3
     Case 22-10630-JTD      Doc 1    Filed 07/14/22   Page 7 of 12




                               Exhibit B

List Filed Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(4)(B)
                  Case 22-10630-JTD             Doc 1        Filed 07/14/22      Page 8 of 12




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                      )
    In re                                             )             Chapter 15
                                                      )
                                                  1
    Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.,      )             Case No. 22-[●]
                                                      )
                      Debtor in a Foreign Proceeding. )
                                                      )

               LIST FILED PURSUANT TO BANKRUPTCY RULE 1007(a)(4)(B)

          I, Robert Wagstaff (the “Petitioner” or the “Foreign Representative”), duly appointed as

the foreign representative by Mr. Fernando Alonso-de-Florida Rivero, the court-appointed

provisional liquidator (Liquidator Judicial Provisional) (the “Mexican Liquidator”)2 of the

Special Expedited Commercial proceeding (Via Sumaria Especial Mercantil) for the dissolution

and liquidation (the “Mexican Liquidation Proceeding”) of Crédito Real, S.A.B. de C.V.,

SOFOM, E.N.R. (the “Chapter 15 Debtor”) pending in the 52nd Civil State Court of Mexico City

(the “Mexican Court”) pursuant to articles 229, 232, 233, 236, and others of the Ley General de

Sociedades Mercantiles, as originally published in the Diario Oficial de la Federación on

August 4, 1934 and last revised on June 14, 2018 (as amended, the “Mexican Corporations

Law”), hereby file this list pursuant to Rule 1007(a)(4)(B) of the Federal Rules of Bankruptcy

Procedure and declare as follows:

I.        List of Administrators

          In the Mexican Liquidation Proceeding, the Chapter 15 Debtor will be liquidated by a

judicially appointed liquidator, who is its legal representative. On June 30, 2022, the Mexican



1
         The last four identifying digits of the tax number and the jurisdiction in which the Chapter 15 Debtor pays
taxes is Mexico – 6815. The Chapter 15 Debtor’s corporate headquarters is located at Avenida Insurgentes Sur No.
730, 20th Floor, Colonia del Valle Norte, Alcaldía Benito Juárez, 03103, Mexico City, Mexico.
2
          On June 30, 2022, the Mexican Court appointed the Mexican Liquidator on a provisional basis.



                                                         1
               Case 22-10630-JTD        Doc 1        Filed 07/14/22   Page 9 of 12




Court entered orders formally commencing the Mexican Liquidation Proceeding and appointing

the Mexican Liquidator. On July 12, 2022, I was appointed by the Mexican Liquidator as the

foreign representative of the Mexican Liquidation Proceeding. My address is 600 Brickell

Avenue, Suite 2550, Miami, FL 33131.

II.    Litigation Pending In the United States to Which the Debtor Is a Party

       On June 22, 2022, an ad hoc group of bondholders commenced an involuntary chapter 11

case against the Chapter 15 Debtor in the Bankruptcy Court for the Southern District of New York.

See In re: Crédito Real, No. 22-10842 (Bankr. S.D.N.Y. 2022) (the “Involuntary Case”). The

Petitioner intends to seek to dismiss the Involuntary Case. As of the date of this Declaration, the

Petitioner is not aware of any other proceedings pending in the United States to which the

Chapter 15 Debtor is a party.

III.   Entities Against Whom Provisional Relief Is Sought Pursuant to 11 U.S.C. § 1519

       The Foreign Representative will likely seek provisional stay relief under section 1519 of

title 11 of the United States Code (the “Bankruptcy Code”) against the entities listed in Exhibit

B to the Verified Petition and any other entity that may otherwise take any action proscribed by

section 362 of the Bankruptcy Code against the Chapter 15 Debtor within the territorial

jurisdiction of the United States.



I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Dated: July 14, 2022


                                                /s/ Robert Wagstaff
                                                Robert Wagstaff
                                                Petitioner and Foreign Representative




                                                 2
Case 22-10630-JTD   Doc 1   Filed 07/14/22   Page 10 of 12




                       Exhibit C

            Corporate Ownership Statement




                            1
                  Case 22-10630-JTD            Doc 1      Filed 07/14/22       Page 11 of 12




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                      )
    In re                                             )             Chapter 15
                                                      )
    Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.,      )             Case No. 22-[_____] ( )
                                                      )
                      Debtor in a Foreign Proceeding. )
                                                      )

       CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT TO
                   FED. R. BANKR. P. 1007(a)(4) AND 7007.1

          I, Robert Wagstaff (the “Petitioner” or the “Foreign Representative”), duly appointed

as the foreign representative by Mr. Fernando Alonso-de-Florida Rivero, the court-appointed

provisional liquidator (Liquidator Judicial Provisional) (the “Mexican Liquidator”)1 of the

Special Expedited Commercial proceeding (Via Sumaria Especial Mercantil) for the dissolution

and liquidation (the “Mexican Liquidation Proceeding”) of Crédito Real, S.A.B. de C.V.,

SOFOM, E.N.R. (the “Chapter 15 Debtor”) pending in the 52nd Civil State Court of Mexico

City (the “Mexican Court”) pursuant to articles 229, 232, 233, 236, and others of the Ley

General de Sociedades Mercantiles, as originally published in the Diario Oficial de la

Federación on August 4, 1934 and last revised on June 14, 2018 (as amended, the “Mexican

Corporations Law”), pursuant to Rules 1007(a)(4) and 7007.1 of the Federal Rules of

Bankruptcy Procedure declare as follows:

          Upon information and belief, the following entities own, directly or indirectly, ten

percent (10%) or more of the equity interests of the Chapter 15 Debtor as of the commencement

of the Chapter 15 Case:

              1. The Chapter 15 Debtor is a publicly held company. No person or entity owns

      more than 10% of the equity interests of the Chapter 15 Debtor.

1
      On June 30, 2022, the Mexican Court appointed the Mexican Liquidator on a provisional basis.


                                                         2
              Case 22-10630-JTD        Doc 1    Filed 07/14/22     Page 12 of 12




       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Dated: July 14, 2022

                                             /s/ Robert Wagstaff
                                             Robert Wagstaff
                                             Petitioner and Foreign Representative




                                               3
